                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION

SECURITIES AND EXCHANGE                        )
COMMISSION,                                    )
                                               )
                       Plaintiff,              )
                                               )
v.                                             )       Case No. 4:20-CV-00327-BCW
                                               )
TODD ESH, et al.,                              )
                                               )
                       Defendants.             )

                                              ORDER

         Before the Court is Plaintiff the Securities and Exchange Commission’s Motion for

Consent Judgement as to Defendant Todd Esh (“Defendant”). (Doc. #6). The Court, being duly

advised of the premises, grants said motion pursuant to the following terms. Accordingly, it is

hereby

         ORDERED Defendant is permanently restrained and enjoined from violating, directly or

indirectly, Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15

U.S.C. § 78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by using any

means or instrumentality of interstate commerce, or of the mails, or of any facility of any

national securities exchange, in connection with the purchase or sale of any security:

         (a)    to employ any device, scheme, or artifice to defraud;

         (b)    to make any untrue statement of a material fact or to omit to state a material fact

                necessary in order to make the statements made, in the light of the circumstances

                under which they were made, not misleading; or

         (c)    to engage in any act, practice, or course of business which operates or would

                operate as a fraud or deceit upon any person.


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       IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure

65(d)(2), the foregoing paragraph also binds the following who receive actual notice of this

Judgment by personal service or otherwise: (a) Defendant’s officers, agents, servants,

employees, and attorneys; and (b) other persons in active concert or participation with Defendant

or with anyone described in (a).

       IT IS FURTHER ORDERED that Defendant is permanently restrained and enjoined from

violating Section 17(a) of the Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)]

in the offer or sale of any security by the use of any means or instruments of transportation or

communication in interstate commerce or by use of the mails, directly or indirectly:

       (a)     to employ any device, scheme, or artifice to defraud;

       (b)     to obtain money or property by means of any untrue statement of a material fact

               or any omission of a material fact necessary in order to make the statements

               made, in light of the circumstances under which they were made, not misleading;

               or

       (c)     to engage in any transaction, practice, or course of business which operates or

               would operate as a fraud or deceit upon the purchaser.

       IT IS FURTHER ORDERED that, as provided in Federal Rule of Civil Procedure

65(d)(2), the foregoing paragraph also binds the following who receive actual notice of this

Judgment by personal service or otherwise: (a) Defendant’s officers, agents, servants,

employees, and attorneys; and (b) other persons in active concert or participation with Defendant

or with anyone described in (a).

       IT IS FURTHER ORDERED that Defendant shall pay disgorgement of ill-gotten gains,

prejudgment interest thereon, and a civil penalty pursuant to Section 20(d) of the Securities Act



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[15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)]. The

Court shall determine the amounts of the disgorgement and civil penalty upon motion of the

Commission. Prejudgment interest shall be calculated from February 22, 2019, based on the rate

of interest used by the Internal Revenue Service for the underpayment of federal income tax as

set forth in 26 U.S.C. § 6621(a)(2). In connection with the Commission’s motion for

disgorgement and/or civil penalties, and at any hearing held on such a motion: (a) Defendant will

be precluded from arguing that he did not violate the federal securities laws as alleged in the

Complaint; (b) Defendant may not challenge the validity of the Consent or this Judgment; (c)

solely for the purposes of such motion, the allegations of the Complaint shall be accepted as and

deemed true by the Court; and (d) the Court may determine the issues raised in the motion on the

basis of affidavits, declarations, excerpts of sworn deposition or investigative testimony, and

documentary evidence, without regard to the standards for summary judgment contained in Rule

56(c) of the Federal Rules of Civil Procedure. In connection with the Commission’s motion for

disgorgement and/or civil penalties, the parties may take discovery, including discovery from

appropriate non-parties.

       IT IS FURTHER ORDERED that, solely for purposes of exceptions to discharge set forth

in Section 523 of the Bankruptcy Code, 11 U.S.C. § 523, the allegations in the complaint are true

and admitted by Defendant, and further, any debt for disgorgement, prejudgment interest, civil

penalty or other amounts due by Defendant under this Judgment or any other judgment, order,

consent order, decree or settlement agreement entered in connection with this proceeding, is a

debt for the violation Defendant of the federal securities laws or any regulation or order issued

under such laws, as set forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C. §

523(a)(19).



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       IT IS FURTHER ORDERED that this Court shall retain jurisdiction of this matter for the

purposes of enforcing the terms of this Judgment.

       IT IS SO ORDERED.


DATE: May 20, 2020                                  /s/ Brian C. Wimes
                                                    JUDGE BRIAN C. WIMES
                                                    UNITED STATES DISTRICT COURT




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